                            NUMBER 13-16-00341-CR

                            COURT OF APPEALS

                    THIRTEENTH DISTRICT OF TEXAS

                        CORPUS CHRISTI - EDINBURG
____________________________________________________________

                    EX PARTE JESSE RIOS
____________________________________________________________

          On appeal from the County Court at Law No. 1
                   of Nueces County, Texas.
____________________________________________________________

                          MEMORANDUM OPINION
               Before Justices Rodriguez, Benavides, and Perkes
                       Memorandum Opinion Per Curiam

       Appellant, Jesse Rios, attempts to appeal from the trial court’s order denying the

relief requested in his application for writ of habeas corpus. We dismiss the appeal for

want of jurisdiction.

       An application for a writ of habeas corpus challenging a conviction in a

misdemeanor case is governed by article 11.09 of the Texas Code of Criminal Procedure.

See TEX. CODE CRIM. PROC. ANN. art. 11.09 (West 2005); Ex parte Tarango, 116 S.W.3d
201, 202 (Tex. App.—El Paso 2003, no pet.). The time to perfect an appeal from an

order in a habeas proceeding is governed by Texas Rule of Appellate Procedure 26.2.

See TEX. R. APP. P. 26.2; Ex parte Rieck, 144 S.W.3d 510, 516 (Tex. Crim. App. 2004).

       Under Rule 26.2(a)(1), a notice of appeal must be filed within 30 days after

sentence is imposed or suspended in open court or after the trial court enters an

appealable order. TEX. R. APP. P. 26.2(a)(1). The trial court entered an order denying

appellant’s request for habeas corpus relief on November 20, 2016. Appellant filed his

notice of appeal on June 28, 2016. On June 28, 2016, the Clerk of this Court notified

appellant that it appeared that the appeal was not timely perfected and that the appeal

would be dismissed if the defect was not corrected within ten days from the date of receipt

of the Court’s directive. Appellant filed a response to the Court’s directive by filing a

“Supplemental to Appeal from Order Denying 11.09 Application for Writ of Habeas

Corpus.”

       Because appellant’s notice of appeal was not timely, we lack jurisdiction over this

appeal. See Slaton v. State, 981 S.W.2d 208, 210 (Tex. Crim. App. 1998); Olivo v. State,

918 S.W.2d 519, 523 (Tex. Crim. App. 1996. Accordingly, the appeal is DISMISSED

FOR WANT OF JURISDICTION.

                                                               PER CURIAM


Do not publish.
See TEX. R. APP. P. 47.2(b).

Delivered and filed the
2nd day of September, 2016.


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